Case 0:18-cv-61260-RNS Document 1 Entered on FLSD Docket 06/06/2018 Page 1 of 11




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                       CASE NO.:


  JEVAUGHN MOULTON,

                 PLAINTIFF,

  v.

  GUY PROSPER, individually,
  TAYLOR ANDERSON, individually,
  JOHN YULFO, individually,
  CAMILLE DUMORNAY, individually,

              DEFENDANTS.
  ____________________________________________/


                                            COMPLAINT

         1)      This a civil action seeking money damages in excess of $15,000 dollars, exclusive

  of costs, interest, and attorney’s fees, against GUY PROSPER [hereafter “DEFENDANT

  PROSPER”], individually, TAYLOR ANDERSON [hereafter “DEFENDANT ANDERSON”],

  individually, JOHN YULFO [hereafter “DEFENDANT YULFO”], individually, and CAMILLE

  DUMORNAY [hereafter “DEFENDANT DUMORNAY”], individually.

         2)      This action is brought pursuant to 42 U.S.C. § 1983 and § 1988, and the Fourth

  and Fourteenth Amendments to the United States Constitution. The United States District Court

  for the Southern District of Florida has jurisdiction of this action under 42 U.S.C. § 1983, 42

  U.S.C. § 1988, 28 U.S.C. § 1331, and 28 U.S.C. § 1343.

                                              PARTIES

         3)      PLAINTIFF JEVAUGHN MOULTON [hereinafter “PLAINTIFF”] is a resident

  of Broward County, State of Florida.


                                                  -1-
Case 0:18-cv-61260-RNS Document 1 Entered on FLSD Docket 06/06/2018 Page 2 of 11




         4)      At all times referred to herein, DEFENDANT PROSPER was acting under color

  of law as a police officer for the City of Coral Springs, and in such capacity, as an agent, servant,

  and employee of the City of Coral Springs.

         5)      At all times referred to herein, DEFENDANT ANDERSON was acting under

  color of law as a police officer for the City of Coral Springs, and in such capacity, as an agent,

  servant, and employee of the City of Coral Springs.

         6)      At all times referred to herein, DEFENDANT YULFO was acting under color of

  law as a police officer for the City of Coral Springs, and in such capacity, as an agent, servant,

  and employee of the City of Coral Springs.

         7)      At all times referred to herein, DEFENDANT DUMORNAY was acting under

  color of law as a police officer for the City of Coral Springs, and in such capacity, as an agent,

  servant, and employee of the City of Coral Springs.

         8)      PLAINTIFF sues DEFENDANTS ANDERSON, PROSPER, YULFO, and

  DUMORNAY in their individual capacities.

                                                FACTS

         9)      On or about July 8, 2014, PLAINTIFF was riding his bicycle in the area of State

  Road 441 and Sample Road in Broward County, Florida.

         10)     Because PLAINTIFF’s race, height, and age matched the description of a robbery

  suspect, DEFENDANT DUMORNAY detained PLAINTIFF.

         11)     DEFENDANT DUMORNAY did not have probable cause to arrest PLAINTIFF,

  and the similarities between the description of the robbery suspect and PLAINTIFF were

  insufficient for DEFENDANT DUMORNAY to have reasonable suspicion to detain

  PLAINTIFF.


                                                   -2-
Case 0:18-cv-61260-RNS Document 1 Entered on FLSD Docket 06/06/2018 Page 3 of 11




           12)   Because PLAINTIFF was scared of the unprovoked attempt by DEFENDANT

  DUMORNAY to detain PLAINTIFF, PLAINTIFF fled the area on foot, traveling eastbound

  toward a nearby shopping center.

           13)   DEFENDANTS PROSPER, ANDERSON, YULFO, and DUMORNAY

  responded to the shopping center in an effort to apprehend PLAINTIFF.

           14)   DEFENDANT PROSPER had with him his K9 partner Bo, a police dog trained to

  bite, hold, and attack individuals at the command of DEFENDANT PROSPER.

           15)   DEFENDANT PROSPER correctly believed that PLAINTIFF was hiding inside

  of a dumpster, because of PLAINTIFF’s fear of the police, in the rear of the shopping center.

           16)   Without warning to PLAINTIFF, DEFENDANT PROSPER placed his K9 partner

  Bo into the dumpster, ordering his K9 partner Bo to attack PLAINTIFF or knowing that his K9

  partner Bo would attack PLAINTIFF based upon DEFENDANT PROSPER’s actions.

           17)   DEFENDANTS ANDERSON, YULFO, and DUMORNAY were present at the

  scene before, during, and after Bo was released into the dumpster, also believed that PLAINTIFF

  was inside of the dumpster, and were aware of DEFENDANT PROSPER’s intentions to release

  Bo into the dumpster so that Bo would attack PLAINTIFF.

           18)   DEFENDANTS ANDERSON, YULFO, and DUMORNAY did not attempt in

  any way to stop DEFENDANT PROSPER from releasing Bo into the dumpster and

  DEFENDANTS ANDERSON, YULFO, and DUMORNAY knew or should have known that Bo

  would attack PLAINTIFF upon being placed inside the dumpster.

           19)   Bo inflicted grievous injury upon PLAINTIFF, including but not limited to

  partially removing PLAINTIFF’s left ear, as PLAINTIFF feared for his life while being attacked

  by Bo.


                                                 -3-
Case 0:18-cv-61260-RNS Document 1 Entered on FLSD Docket 06/06/2018 Page 4 of 11




         20)       PLAINTIFF exited the dumpster and was taken into custody by one or more

  DEFENDANTS for resisting arrest without violence, contrary to Florida Statute 843.01, and

  resisting arrest with violence, contrary to Florida Statute 843.02.

         21)       DEFENDANTS ANDERSON, PROSPER, YULFO, and DUMORNAY then

  determined that PLAINTIFF was not the individual who committed the robbery under

  investigation.

         22)       PLAINTIFF endured severe injury and has undergone plastic surgery as a result

  of the attack, and suffered irreparable and permanent injuries, both physically and emotionally.

         23)       As a result of the incident, PLAINTIFF incurred expenses including, but not

  limited to, medical bills and loss of income.

                                        CAUSES OF ACTION

                                               COUNT 1

     FOURTH AMENDMENT EXCESSIVE FORCE CLAIM AGAINST DEFENDANT
              PROSPER, COGNIZABLE UNDER 42 U.S.C. § 1983


         For his cause of action against DEFENDANT PROSPER, individually, in Count 1,

  PLAINTIFF states:

         24)       PLAINTIFF realleges and adopts, as if fully set forth in Count 1, the allegations

  of paragraphs 1 through 23.

         25)       When DEFENDANT PROSPER was acting under the authority of the State of

  Florida and under color of law as a law enforcement officer employed by the City of Coral

  Springs, DEFENDANT PROSPER subjected PLAINTIFF to the deprivation of the rights and

  privileges secured to him by the Constitution of the United States, including the right to be free

  from excessive use of force, within the meaning of 42 U.S.C. § 1983.


                                                   -4-
Case 0:18-cv-61260-RNS Document 1 Entered on FLSD Docket 06/06/2018 Page 5 of 11




        26)        With regard to the violations of the constitutional rights of PLAINTIFF as

   alleged in this count, the actions of DEFENDANT PROSPER were done with malicious intent,

   ill will, spite, intent to injure, evil motive, wickedness, formed design to injure or oppress

   PLAINTIFF, and were done with a reckless or callous indifference to PLAINTIFF’s federally

   protected rights.

        27)        As a direct and proximate result of the acts described above, PLAINTIFF

  suffered great humiliation, significant physical injury, emotional, mental, and psychological

  injury, and damaged reputation, including business reputation/goodwill.

        28)        As a further direct and proximate result of the conduct of DEFENDANT

  PROSPER, PLAINTIFF suffered loss of his liberty and freedom, mental anguish, loss of income,

  attorney expenses, costs of bond and defense, and loss of capacity for the enjoyment of life.

  PLAINTIFF’s losses are either permanent or continuing and PLAINTIFF will suffer the losses in

  the future, in violation of PLAINTIFF’s civil rights. PLAINTIFF has also agreed to pay the

  undersigned a reasonable fee for their services herein.

         WHEREFORE, PLAINTIFF prays:

         A.        Judgment for compensatory damages against DEFENDANT PROSPER in

                   excess of $15,000;

         B.        Judgment for exemplary damages;

         C.        Cost of suit;

         D.        Reasonable attorney’s fees, pursuant to 42 U.S.C. § 1983.

         E.        Trial by jury as to all issues so triable; and

         F.        Such other relief as this Honorable Court may deem just and appropriate.




                                                   -5-
Case 0:18-cv-61260-RNS Document 1 Entered on FLSD Docket 06/06/2018 Page 6 of 11




                                               COUNT 2

    FOURTH AMENDMENT EXCESSIVE FORCE CLAIM AGAINST DEFENDANT
  ANDERSON FOR FAILURE TO INTERVENE, COGNIZABLE UNDER 42 U.S.C. § 1983


         For his cause of action against DEFENDANT ANDERSON, individually, in Count 2,

  PLAINTIFF states:

        29)        PLAINTIFF realleges and adopts, as if fully set forth in Count 2, the allegations

  of paragraphs 1 through 23.

         30)       DEFENDANT ANDERSON, acting under the authority of the State of Florida

  and under color of law as a law enforcement officer employed by the City of Coral Springs, was

  in the vicinity of the attack on PLAINTIFF by DEFENDANT PROSPER via his K9 partner BO.

  DEFENDANT ANDERSON was aware of the attack on PLAINTIFF, was capable of

  intervening to prevent the use of unnecessary force, and failed to intervene, both while the attack

  was imminent and while the attack was in progress. DEFENDANT ANDERSON thereby

  subjected PLAINTIFF to the deprivation of the rights and privileges secured to him by the

  Constitution of the United States, including the right to be free from excessive use of force,

  within the meaning of 42 U.S.C. § 1983.

         31)       With regard to the violations of the constitutional rights of PLAINTIFF as

  alleged in this count, the actions and inactions of DEFENDANT ANDERSON were done with

  malicious intent, ill will, spite, intent to injure, evil motive, wickedness, formed design to injure

  or oppress PLAINTIFF, and were done with a reckless or callous indifference to PLAINTIFF’s

  federally protected rights.

         32)       As a direct and proximate result of the acts and omissions described above,

  PLAINTIFF suffered great humiliation, significant physical injury, emotional, mental, and


                                                   -6-
Case 0:18-cv-61260-RNS Document 1 Entered on FLSD Docket 06/06/2018 Page 7 of 11




  psychological injury, and damaged reputation, including business reputation/goodwill.

         33)       As a further direct and proximate result of the acts and omissions of

  DEFENDANT ANDERSON, PLAINTIFF suffered loss of his liberty and freedom, mental

  anguish, loss of income, attorney expenses, costs of bond and defense, and loss of capacity for

  the enjoyment of life. PLAINTIFF’s losses are either permanent or continuing and PLAINTIFF

  will suffer the losses in the future, in violation of PLAINTIFF’s civil rights. PLAINTIFF has

  also agreed to pay the undersigned a reasonable fee for their services herein.

         WHEREFORE, PLAINTIFF prays:

         A.        Judgment for compensatory damages against DEFENDANT ANDERSON in

                   excess of $15,000;

         B.        Judgment for exemplary damages;

         C.        Cost of suit;

         D.        Reasonable attorney’s fees, pursuant to 42 U.S.C. § 1983.

         E.        Trial by jury as to all issues so triable; and

         F.        Such other relief as this Honorable Court may deem just and appropriate.

                                               COUNT 3

     FOURTH AMENDMENT EXCESSIVE FORCE CLAIM AGAINST DEFENDANT
    YULFO FOR FAILURE TO INTERVENE, COGNIZABLE UNDER 42 U.S.C. § 1983


         For his cause of action against DEFENDANT YULFO, individually, in Count 3,

  PLAINTIFF states:

         34)       PLAINTIFF realleges and adopts, as if fully set forth in Count 3, the allegations

  of paragraphs 1 through 23.

         35)       DEFENDANT YULFO, acting under the authority of the State of Florida and


                                                   -7-
Case 0:18-cv-61260-RNS Document 1 Entered on FLSD Docket 06/06/2018 Page 8 of 11




  under color of law as a law enforcement officer employed by the City of Coral Springs, was in

  the vicinity of the attack on PLAINTIFF by DEFENDANT PROSPER via his K9 partner BO.

  DEFENDANT YULFO was aware of the attack on PLAINTIFF, was capable of intervening

  to prevent the use of unnecessary force, and failed to intervene, both while the attack was

  imminent and while the attack was in progress. DEFENDANT YULFO thereby subjected

  PLAINTIFF to the deprivation of the rights and privileges secured to him by the Constitution of

  the United States, including the right not to be deprived of liberty and to be free from unlawful or

  unreasonable search and/or seizure under the Fourth Amendment, and the right to be free from

  excessive use of force, within the meaning of 42 U.S.C. § 1983.

         36)       With regard to the violations of the constitutional rights of PLAINTIFF as

  alleged in this count, the actions and inactions of DEFENDANT YULFO were done with

  malicious intent, ill will, spite, intent to injure, evil motive, wickedness, formed design to injure

  or oppress PLAINTIFF, and were done with a reckless or callous indifference to PLAINTIFF’s

  federally protected rights.

         37)       As a direct and proximate result of the acts and omissions described above,

  PLAINTIFF suffered great humiliation, significant physical injury, emotional, mental, and

  psychological injury, and damaged reputation, including business reputation/goodwill.

         38)       As a further direct and proximate result of the acts and omissions of

  DEFENDANT YULFO, PLAINTIFF suffered loss of his liberty and freedom, mental anguish,

  loss of income, attorney expenses, costs of bond and defense, and loss of capacity for the

  enjoyment of life. PLAINTIFF’s losses are either permanent or continuing and PLAINTIFF will

  suffer the losses in the future, in violation of PLAINTIFF’s civil rights. PLAINTIFF has also

  agreed to pay the undersigned a reasonable fee for their services herein.


                                                   -8-
Case 0:18-cv-61260-RNS Document 1 Entered on FLSD Docket 06/06/2018 Page 9 of 11




         WHEREFORE, PLAINTIFF prays:

         A.        Judgment for compensatory damages against DEFENDANT YULFO in excess

                   of $15,000;

         B.        Judgment for exemplary damages;

         C.        Cost of suit;

         D.        Reasonable attorney’s fees, pursuant to 42 U.S.C. § 1983.

         E.        Trial by jury as to all issues so triable; and

         F.        Such other relief as this Honorable Court may deem just and appropriate.

                                               COUNT 4

     FOURTH AMENDMENT EXCESSIVE FORCE CLAIM AGAINST DEFENDANT
    DUMORNAY FOR FAILURE TO INTERVENE, COGNIZABLE UNDER 42 U.S.C. §
                                1983


         For his cause of action against DEFENDANT DUMORNAY, individually, in Count 4,

  PLAINTIFF states:

          39)      PLAINTIFF realleges and adopts, as if fully set forth in Count 4, the allegations

  of paragraphs 1 through 23.

         40)       DEFENDANT DUMORNAY, acting under the authority of the State of Florida

  and under color of law as a law enforcement officer employed by the City of Coral Springs, was

  in the vicinity of the attack on PLAINTIFF by DEFENDANT PROSPER via his K9 partner BO.

  DEFENDANT DUMORNAY was aware of the attack on PLAINTIFF, was capable of

  intervening to prevent the use of unnecessary force, and failed to intervene, both while the attack

  was imminent and while the attack was in progress. DEFENDANT DUMORNAY thereby

  subjected PLAINTIFF to the deprivation of the rights and privileges secured to him by the



                                                   -9-
Case 0:18-cv-61260-RNS Document 1 Entered on FLSD Docket 06/06/2018 Page 10 of 11




  Constitution of the United States, including the right not to be deprived of liberty and to be free

  from unlawful or unreasonable search and/or seizure under the Fourth Amendment, and the right

  to be free from excessive use of force, within the meaning of 42 U.S.C. § 1983.

         41)       With regard to the violations of the constitutional rights of PLAINTIFF as

  alleged in this count, the actions and inactions of DEFENDANT DUMORNAY were done with

  malicious intent, ill will, spite, intent to injure, evil motive, wickedness, formed design to injure

  or oppress PLAINTIFF, and were done with a reckless or callous indifference to PLAINTIFF’s

  federally protected rights.

         42)       As a direct and proximate result of the acts and omissions described above,

  PLAINTIFF suffered great humiliation, significant physical injury, emotional, mental, and

  psychological injury, and damaged reputation, including business reputation/goodwill.

         43)       As a further direct and proximate result of the acts and omissions of

  DEFENDANT DUMORNAY, PLAINTIFF suffered loss of his liberty and freedom, mental

  anguish, loss of income, attorney expenses, costs of bond and defense, and loss of capacity for

  the enjoyment of life. PLAINTIFF’s losses are either permanent or continuing and PLAINTIFF

  will suffer the losses in the future, in violation of PLAINTIFF’s civil rights. PLAINTIFF has

  also agreed to pay the undersigned a reasonable fee for their services herein.

         WHEREFORE, PLAINTIFF prays:

         A.        Judgment for compensatory damages against DEFENDANT DUMORNAY in

                   excess of $15,000;

         B.        Judgment for exemplary damages;

         C.        Cost of suit;

         D.        Reasonable attorney’s fees, pursuant to 42 U.S.C. § 1983.


                                                   -10-
Case 0:18-cv-61260-RNS Document 1 Entered on FLSD Docket 06/06/2018 Page 11 of 11




        E.     Trial by jury as to all issues so triable; and

        F.     Such other relief as this Honorable Court may deem just and appropriate.



  DATED: June 6, 2018



                                                      RUDENBERG & GLASSER, P.A.
                                                      Attorney for Plaintiff
                                                      633 SE 3rd Avenue, Suite 4F
                                                      Ft. Lauderdale, FL 33301
                                                      (954) 463-9518

                                                      By:       s/ Eric S. Rudenberg
                                                                Eric S. Rudenberg
                                                                Florida Bar Number: 81992




                                               -11-
